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                IN THE UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

EAGLES LANDING DAYCARE &                     )
LEARNING CENTER,                             )
                                             )
            Plaintiff,                       )
                                             )     CIVIL ACTION FILE
 v.                                          )
                                             )     NO. 1:14-CV-00465-HLM
SPARTA INSURANCE COMPANY,                    )
                                             )
            Defendant.                       )

               MOTION TO ENFORCE APPRAISAL AWARD

      COMES NOW SPARTA INSURANCE COMPANY and files this, its

Motion to Enforce Appraisal Award, and shows this Honorable Court as Follows:

                           STATEMENT OF FACTS

      Plaintiff held a policy of insurance with Sparta Insurance Company

(hereinafter “Sparta”), policy number 016CP01044.         During the term of the

insurance policy, Plaintiff suffered a property loss as a result of hail and storm

damage. (See Complaint). Plaintiff instituted a claim with Sparta for the property

loss. (See Complaint).

      During the pendency of the claim, a dispute over the value of the claim

arose, and Plaintiff filed this action alleging Breach of Contract and Bad Faith for
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failure to pay the claim. On April 1, 2014, Sparta issued payment to Plaintiff

insured representing the uncontested portions of the loss.       However, Plaintiff

claimed, and Sparta contested, that the hailstorm caused interior damage and that

replacement of supports on the exterior structure were needed.

      The policy at issue contains an appraisal provision. Following a Motion to

Compel Appraisal, this Court ordered, on July 21, 2014, that this matter go through

the appraisal process. As a result of the retained appraisers inability to agree upon

an umpire the parties filed a joint motion to appoint one. On September 19, 2014

this Court granted same and appointed James M. Brown to serve as an umpire in

this matter.

      On January 9, 2015, Mr. Brown issued a letter to this Court and provided the

following ruling:

      I did not observe any interior or exterior damages caused by the hailstorm
      and no evidence of such damage was presented in the documents provided.
      In addition, no evidence was observed or presented in the documents that
      indicate the hailstorm affected the water shedding capability of the metal
      roof panels resulting in water leakage into the interior. The hailstorm also
      did not reduce the service life of the metal roof panels.

      Pursuant to Mr. Brown’s ruling, Sparta has requested that Plaintiff dismiss

this matter, but such requests have been ignored. Accordingly, Sparta respectfully

requests that this Court enforce the appraisal award and dismiss this action.




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              ARGUMENT AND CITATIONS OF AUTHORITY

      Georgia law concerning the enforceability of appraisal awards is well

settled. An appraisal award is “the result of a contractual method of ascertaining

the amount of loss, and it is binding on the parties as to the amount of loss unless

the award is set aside.” Southern General Ins. Co. v. Kent, et al., 187 Ga. App.

496 (1988) (citing Jordan v. General Ins. Co. of America, 92 Ga. App. 77 (1955)).

“There exists a presumption in favor of the regularity and fairness of appraisement

awards, and it is difficult to set them aside.” Southern General, 187 Ga. App. at

497 (citing Pacific Nat’l Fire Ins. Co. v. Beavers, 87 Ga. App. 294 (1952)).

      In order to challenge an appraisal award, there must be “evidence of fraud,

oppression, irregularity, or unfairness, other than on the disputed issue of value,

and no other circumstances tending to raise the issue . . ..” Bell v. Liberty Mut.

Fire Ins. Co., 319 Ga. App. 302 (2012). (citing Southern General, 187 Ga. App. at

497). “Thus, unless there is fraud sufficient to set the appraisement award aside,

the trial court should have directed a verdict . . . on the issue of amount of loss.”

Southern General, 187 Ga. App. at 497. Even if there is evidence of fraud,

oppression, irregularity or unfairness, such cannot relate to “the disputed issue of

value.” Id. Plainly stated, Plaintiff has not, and cannot, move to set aside the

umpire’s award because there is absolutely no evidence to support “fraud,


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oppression, irregularity, or unfairness” in the umpire’s award. Therefore, Sparta

respectfully requests that this Court order enforcement of the appraisal award and

dismiss this action.

                                 CONCLUSION

      For the foregoing reasons, Sparta respectfully requests that this Court Order

enforcement of the appraisal award and dismiss this action.

      This 5th day of March 2015.

                                Respectfully submitted,

                                SWIFT, CURRIE, McGHEE & HIERS, LLP

                                By:   /s/ Pamela N. Lee
                                      Pamela Newsom Lee
                                      Georgia State Bar No. 198981

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                                      SPARTA INSURANCE COMPANY

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              CERTIFICATE OF FONT & CERTIFICATE OF SERVICE

        I hereby certify that the foregoing documents were prepared in Times New

Roman 14-point font in conformance with Local Rule 5.1(C), and that I have this

day electronically filed this Motion to Enforce Appraisal Award with the Clerk of

Court using the CM/ECF system and served upon all counsel of record, by

electronic filing and/or United States mail, postage prepaid, and properly addressed

as follows:

         Jeffrey D. Diamond                         Bill L. Voss
         Law Offices of Jeffrey D. Diamond          Scott G. Hunziker
         3330 Cumberland Blvd., Suite 600           The Voss Law Firm
         Atlanta, Georgia 30339                     The Voss Law Center
                                                    26619 Interstate 45
                                                    The Woodlands, Texas 77380

        This 5th day of March 2015.

                                   SWIFT, CURRIE, McGHEE & HIERS, LLP

                                   By:   /s/ Pamela N. Lee
                                         Pamela Newsom Lee
                                         Georgia State Bar No. 198981
                                         Attorney for Defendant
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